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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

   CHERYL WEIMER,

           Plaintiff,

   v.                                                        Case No.: 5:19-cv-548-Oc-41PRL

   THE FLORIDA DEPARTMENT OF
   CORRECTIONS, KEITH TURNER,
   and RYAN DIONNE

        Defendants.
                                                 /

    DEFENDANTS’ KEITH TURNER AND RYAN DIONNE JOINT RESPONSE IN
       OPPOSITION TO PLAINTIFF CHERYL WEIMER’S MOTIONS FOR
     SUMMARY JUDGMENT WITH SUPPORTING MEMORANDUM OF LAW

           Defendants Keith Turner (“Turner”) and Ryan Dionne (“Dionne”) hereby move

   this Court to defer considering or deny Plaintiff Cheryl Weimer’s (“Weimer”) Motions for

   Summary Judgment to allow time to complete discovery under Rule 56(d) of the Federal

   Rules of Civil Procedure.

                                  MEMORANDUM OF LAW

           According to Rule 56(d),

           [i]f a nonmovant shows by affidavit or declaration that, for specified
           reasons, it cannot present facts essential to justify its opposition, the court
           may: (1) defer considering the motion or deny it; (2) allow time to obtain
           affidavits or declarations or to take discovery; or (3) issue any other
           appropriate order.

   Fed. R. Civ. P. 56(d).

           In practice, “the Eleventh Circuit has held that the filing of an affidavit is not

   required to invoke the protection of the rule.” Northfield Ins. Co. v. Ayyad Bros.


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   Enterprises, LLC, 219CV482FTM29MRM, 2020 WL 533936, at *2 (M.D. Fla. Feb. 3,

   2020) (citing Snook v. Tr. Co. of Georgia Bank of Savannah, N.A., 859 F.2d 865, 871 (11th

   Cir. 1988)). Only that “[t]he party opposing the motion for summary judgment bears the

   burden of alerting the Court to any outstanding discovery, but a written representation by

   the party’s lawyer still falls within the spirit of the rule, and ‘[f]orm is not to be exalted

   over fair procedures.’” Id. (quoting Snook, 859 F.2d at 871).

          Furthermore, “Rule 56 requires adequate time for discovery prior to entry of

   summary judgment.” Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

   Therefore, “[e]ntry of summary judgment before the nonmoving party has had time to

   conduct discovery constitutes reversible error.” Id. (citing WSB-TV v. Lee, 842 F.2d 1266,

   1269 (11th Cir. 1988)).

          Northfield goes on to state “[a] party has the right to challenge the factual evidence

   presented by the moving party by conducting sufficient discovery so as to determine if he

   may furnish opposing affidavits.” Id. (citing Snook, 859 F.2d at 870). Furthermore, “[t]he

   Eleventh Circuit has cautioned that ‘summary judgment may only be decided upon an

   adequate record.’” Id. (quoting Snook, 859 F.2d at 870). In summary, “‘[t]he law in this

   circuit is clear: the party opposing a motion for summary judgment should be permitted an

   adequate opportunity to complete discovery prior to the consideration of the motion.’” Id.

   (quoting Jones v. City of Columbus, Ga., 120 F.3d 248, 253 (11th Cir. 1997)).

          In the instant case, the discovery deadline does not expire until June 1, 2020 and

   dispositive and Daubert motions are not due until July 1, 2020. Plaintiff’s Motion for

   Summary Judgment relies on the sworn statements and affidavits of four alleged



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   eyewitnesses, one of whom is currently incarcerated. Defendants have not yet had the

   opportunity to cross examine these alleged witnesses although their depositions have been

   scheduled. Additionally, Defendants are still obtaining necessary documentation from the

   Department of Corrections which is critical for the defense of Defendants Turner and

   Dionne.

          “Because discovery is ongoing, [Defendants do] not yet have all the information

   needed to respond to summary judgment [a]nd [since] discovery does not close for over

   three months, . . . summary judgment is premature.” Diamond Lake Condo. Ass'n, Inc. v.

   Empire Indem. Ins. Co., 219CV547FTM38NPM, 2020 WL 619062, at *1 (M.D. Fla. Feb.

   10, 2020) (citations omitted). “Ruling on the merits of a case in which a motion for

   summary judgment has been prematurely filed would frustrate the non-movant’s right to

   investigate factually.” United States v. Oury, 219CV170FTM38NPM, 2019 WL 6728266,

   at *2 (M.D. Fla. Dec. 11, 2019) (citing Blumel v. Mylander, 919 F. Supp. 423, 429 (M.D.

   Fla. 1996)).

                                       CONCLUSION

          In accordance with the previously stated statutory and case law, this Court should

   defer considering or deny Plaintiff Cheryl Weimer’s (“Weimer”) Motions for Summary

   Judgment to allow time to complete discovery under Rule 56(d) of the Federal Rules of

   Civil Procedure.

                                               Respectfully submitted,

                                               /s/ Robert B. Buchanan
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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 2nd day of March 2020 a true and correct copy of the

   foregoing was electronically filed with the Clerk of the Court for the U.S. District Court

   for the Middle District of Florida by using the CM/ECF system, which will send a notice

   of electronic filing to all counsel of record.

                                                    /s/ Robert B. Buchanan
                                                    Robert B. Buchanan




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